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5                              UNITED STATES DISTRICT COURT

6                              EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,                   No.    2:06-cr-0441-GEB
9                        Plaintiff,
10           v.                                  ORDER DENYING DEFENDANT’S MOTION
                                                 FOR REDUCTION OF SENTENCE
11   VIRGILIO PINEDA,
12                       Defendant.
13

14                    On December 22, 2015, Defendant Virgilio Pineda filed,

15   in pro per, a motion for modification of his sentence under 18

16   U.S.C.       §     3582(c)(2).    (ECF    No.   564.)    Specifically,     Defendant

17   argues       the    retroactive     post-sentencing      reduction    of   his   base

18   offense level justifies a reduction of his sentence.

19                    On July 26, 2016, the Office of the Federal Defender

20   filed    a       notice   stating    it    “will   not    file   a   supplement   to

21   defendant’s pro se motion[.]” (ECF No. 566.)

22                    The government was directed to file a written response

23   to Defendant’s motion, but did not respond until November 4,

24   2016. Defendant filed a reply to the government’s response on

25   December 6, 2016.

26                    In its opposition, the government argues:

27                    The defendant’s motion seeks a reduction in
                      his sentence based upon the Sentencing
28                    Commission’s passage of Amendment 782, which
                                            1
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1             became effective November 1, 2014. That
              Amendment generally revised the Drug Quantity
2             Table in U.S.S.G. § 2D1.1 downward by two
              levels. The Sentencing Commission further
3             provided that Amendment 782 would apply
              retroactively     to      previously-sentenced
4             defendants.   See   U.S.S.G.   §§   1B1.10(d),
              (e)(1).
5
              Defendant’s    motion     under     18    U.S.C.
6             § 3582(c)(2) triggers a two-step analysis to
              determine   whether   to   grant    a   sentence
7             reduction. Dillon v. United States, 560 U.S.
              817,   826  (2010).   “A    court   must   first
8             determine that a reduction is consistent with
              § 1B1.10 before it may consider whether the
9             authorized reduction is warranted, either in
              whole or in part, according to the factors
10            set forth in § 3553(a).” Id. The second step
              requires that “the court [ ] consider the
11            factors set forth in 18 U.S.C. § 3553(a) in
              determining . . . whether a reduction in the
12            defendant’s    term    of     imprisonment    is
              warranted.”
13
     (Gov’t’s Opp’n 2:23-3:6, ECF No. 571.)
14
              The government further argues:
15
              Applying the first step identified in Dillon,
16            the defendant does not qualify for a sentence
              reduction.   To be eligible for a sentence
17            reduction under 18 U.S.C. § 3582(c)(2),
              defendant must show that his sentence was
18            “based on a sentencing range that has
              subsequently been lowered by the Sentencing
19            Commission” and (2) “such a reduction is
              consistent with applicable policy statements
20            issued by the Sentencing Commission.” United
              States v. Wesson, 583 F.3d 728, 730 (9th Cir.
21            2009)(quoting 18 U.S.C. § 3582(c)(2)).

22            Defendant is not eligible for a sentence
              reduction because he received a departure
23            that is the bottom of his now-amended
              guideline range. U.S.S.G. § 1B1.10(b)(2)(A).
24            Calculating the defendant’s amended guideline
              range demonstrates why he is ineligible for
25            relief.    At the original sentencing, the
              Court found defendant responsible for a total
26            of 567 grams of heroin. PSR ¶ 22. After
              Amendment 782, this amount of heroin now
27            results in a base offense level 26 (as
              opposed   to  level   28   at   the   original
28            sentencing).    U.S.S.G.     §     2D1.1(c)(7)
                                        2
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1              (establishing base offense level 26 for
               crimes involving between 400 and 700 grams of
2              heroin).    After application of the same
               guideline   reduction   applicable    at   the
3              original sentencing (a 3-level reduction for
               acceptance of responsibility), defendant’s
4              total offense now is 23, criminal history
               category V, with a resulting guideline range
5              of 84 to 105 months in prison. Pursuant to §
               1B1.10(b)(2)(A), the Court has no authority
6              to reduce this defendant’s sentence to less
               than 84 months because that is the low-end of
7              his amended guideline range. Because a
               sentence of months is the same sentence as
8              the departure-based sentence of 84 months
               imposed by this Court during the original
9              sentencing,    reducing   this     defendant’s
               sentence is inconsistent with § 1B1.10 and he
10             is therefore ineligible for relief under
               § 3582.
11
     (Id. at 3:12-4:3.)
12
               The government is correct.           Since Defendant has not
13
     shown that his sentence was based on a sentencing range that has
14
     subsequently    been    lowered    by    the    Sentencing        Commission,
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     Defendant’s motion for reduction of sentence is DENIED.
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     Dated:   December 13, 2016
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